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                              EXHIBIT C
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                                            General Star National Insurance Company
                                            120 Long Ridge Road
                                            STAMFORD, CONNECTICUT 06902-1843


                  REAL ESTATE ERRORS AND OMISSIONS INSURANCE POLICY
                                          DECLARATIONS PAGE
                             THIS IS A CLAIMS-MADE AND REPORTED POLICY
       PLEASE READ THIS POLICY AND ALL ENDORSEMENTS AND ATTACHMENTS CAREFULLY.

 Policy Number:     NJA363443                                 Renewal of Number:
 1. NAMED INSURED: MDLV LLC
    DBA: ONE Sotheby's International Realty
    STREET ADDRESS:                          ,              , FL 331
 2. POLICY PERIOD: Inception Date: 11/30/20                            Expiration Date: 11/30/202
                        Effective 12:01 a.m. Standard Time at the street address of the Named Insured.
 3. LIMIT OF LIABILITY:
       Each Claim:    $3,000,000                                          CERTIFIED COPY
       Aggregate:     $3,000,000                              This policy is certified to be complete and contains all forms
                                                              and endorsements applicable to this policy based on the
                                                              best knowledge and information currently available.
 4. CLAIMS EXPENSES:
            a. Are included within the Limit of Liability
                                                             08/10/2021
            b. Have a separate Limit of Liability            ___________
                                                             Date
 5. DEDUCTIBLE:
        Each Claim: $ 25 000
            a. The deductible amount specified above applies to Damages only.
            b. The deductible amount specified above applies to both Damages and Claims Expenses.
 6. RETROACTIVE DATE: 11/30/2004
        If a date is indicated, this Policy will not provide coverage for any Claim arising out of any act, error,
        omission or Personal Injury which occurred before such date.
 7. ANNUAL PREMIUM:
 8. ENDORSEMENTS:
    This Policy is made and accepted subject to the printed conditions in this Policy together with the
    provisions, stipulations and agreements contained in the following form(s) or endorsement(s).
    RE 10 0001 05 17, SGN 90 0001 07 10, RE 00 0001 05 17, RE 04 0003 05 17, RE 04 0010 05 17, RE 04
        0011 05 17, RE 04 0013 05 17, RE 04 0014 05 17, RE 04 0015 05 17, RE 04 0018 05 17, RE 04 0019
        05 17, RE 04 0020 05 17, RE 11 0012 05 17, RE 11 0016 05 17, RE 20 0002 05 17, RE 20 0003 05 17,
        RE 21 0002 05 17, RE 21 0010 05 17, RE 21 0015 05 17, RE 27 0006 05 17, RE 01 0009FL 05 17, RE
        08 000 08 18,
 9. PRODUCER NAME: Norman-Spencer Agency
    STREET ADDRESS: 8075 Washington Village Drive Dayton, OH 45458
                                                                                    ___________________________
                                                                                Authorized Representative

 Producer Code: 26480                             Class Code: 73127
 Date: 12/06/2019

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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




                      ADDITIONAL INSURED ENDORSEMENT
This endorsement modifies insurance provided under the following:

                   REAL ESTATE ERRORS AND OMISSIONS INSURANCE POLICY


SECTION II – WHO IS INSURED is amended to include as an additional Insured(s) the person(s), corporation(s)
or entity(ies) shown in the Schedule below as respects an act, error, omission or Personal Injury caused, in
whole or in part, by the rendering of or failure to render Professional Services by an Insured.

If a Retroactive Date is shown in the Schedule, that date applies solely to the additional Insured shown in the
Schedule.

                                                         SCHEDULE

Name of Additional Insured(s):                                                                       Retroactive Date(s):

 MDLV II LLC dba ONE Sotheby's International Realty                                              03/22/2010


 ONE Commercial LLC                                                                              11/30/2018




ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS OF THIS POLICY REMAIN UNCHANGED.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




         EXCLUSION - PERFORMANCE BY SPECIFIED ENTITY


   This endorsement modifies insurance provided under the following:

                   REAL ESTATE ERRORS AND OMISSIONS INSURANCE POLICY

   The following exclusion is added to Paragraph A. of SECTION VII – EXCLUSIONS:

   The Company has no obligation under this Policy to pay Damages or Claims Expenses or to provide a
   defense in connection with any Claim(s) arising out of any act, error or omission or Personal Injury in
   the rendering of or failure to render Professional Services by or on behalf of the “Specified Person(s) or
   Entity(ies)” listed below, including but not limited to any partners, directors, officers, principals, members,
   managing members, agents, subcontractors, independent contractors or employees while acting in the
   scope of duties for such “Specified Person(s) or Entity(ies)” or its, predecessors, successors, assignees
   or any organization it acquired, participated in, or formed or over which it has current ownership or
   control.



   Specified Person(s) or Entity(ies):
           One Thousand Museum-Louis Birdman and Fairchild-ROVR Developments and Royal Palm
           Residences-PC6 Developments and Althea Row Biltmore Row MG Developer and OKAN Tower
           OKAN Group




   ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS OF THIS POLICY REMAIN UNCHANGED.




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     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.




        EXCLUSION - PERFORMANCE FOR SPECIFIED ENTITY


   This endorsement modifies insurance provided under the following:

                   REAL ESTATE ERRORS AND OMISSIONS INSURANCE POLICY

   The following exclusion is added to Paragraph A. of SECTION VII – EXCLUSIONS:

   The Company has no obligation under this Policy to pay Damages or Claims Expenses or to provide a
   defense in connection with any Claim(s) arising out of any act, error or omission or Personal Injury in
   the rendering of or failure to render Professional Services for the “Specified Person(s) or Entity(ies)”
   listed below, including but not limited to any partners, directors, officers, principals, members, managing
   members, agents, subcontractors, independent contractors or employees while acting in the scope of
   duties for such “Specified Person(s) or Entity(ies)” or its parents, subsidiaries, affiliates, predecessors,
   successors, assignees or any organization it acquired, participated in, or formed or over which it has
   current ownership or control.



   Specified Person(s) or Entity(ies):

           One Thousand Museum-Louis Birdman and Fairchild-ROVR Developments and Royal Palm
           Residences-PC6 Developments and Althea Row Biltmore Row MG Developer and OKAN Tower
           OKAN Group and Adagio and Marina Palms and Villa Valencia




   ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS OF THIS POLICY REMAIN UNCHANGED.



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